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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

              -v-                                     Case No. 1:19-cr-850-JSR

PARKER H. PETIT and
WILLIAM C. TAYLOR,

                      Defendants.


                 SUPPLEMENTAL LETTERS IN SUPPORT OF SENTENCING
                       ON BEHALF OF PARKER H. PETIT
       The undersigned is separately filing these letters in support of Parker H. Petit’s

sentencing submission because the attached letters reference a client of Freshfields Bruckhaus

Deringer.




Dated: New York, New York
       February 16, 2021


                                                     /s/ Matthew I. Menchel
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